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                                                                        United States Bankruptcy Court
                                                                            Southern District of Texas

                                                                               ENTERED
                  IN THE UNITED STATES BANKRUPTCY COURT                     February 21, 2024
                    FOR THE SOUTHERN DISTRICT OF TEXAS                      Nathan Ochsner, Clerk
                             HOUSTON DIVISION

                                                       )
In re:                                                 )   Chapter 11
                                                       )
HORNBLOWER HOLDINGS LLC,                               )   Case No. 24-90061 (MI)
                                                       )
                     Debtor.                           )
                                                       )
Tax I.D. No. XX-XXXXXXX                                )
                                                       )
In re:                                                 )   Chapter 11
                                                       )
ALCATRAZ CRUISES, LLC,                                 )   Case No. 24-90062 (MI)
                                                       )
                     Debtor.                           )
                                                       )
Tax I.D. No. XX-XXXXXXX                                )
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In re:                                                 )   Chapter 11
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ALCATRAZ FLEET, LLC,                                   )   Case No. 24-90063 (MI)
                                                       )
                     Debtor.                           )
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Tax I.D. No. XX-XXXXXXX                                )
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In re:                                                 )   Chapter 11
                                                       )
ALCATRAZ FREEDOM, LLC,                                 )   Case No. 24-90066 (MI)
                                                       )
                     Debtor.                           )
                                                       )
Tax I.D. No. XX-XXXXXXX                                )
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In re:                                                 )   Chapter 11
                                                       )
ALCATRAZ ISLAND SERVICES, LLC,                         )   Case No. 24-90075 (MI)
                                                       )
                     Debtor.                           )
                                                       )
Tax I.D. No. XX-XXXXXXX                                )
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                                                         )
In re:                                                   )   Chapter 11
                                                         )
AMERICAN COUNTESS, LLC,                                  )   Case No. 24-90080 (MI)
                                                         )
                     Debtor.                             )
                                                         )
Tax I.D. No. XX-XXXXXXX                                  )
                                                         )
In re:                                                   )   Chapter 11
                                                         )
AMERICAN DUCHESS, LLC,                                   )   Case No. 24-90082 (MI)
                                                         )
                     Debtor.                             )
                                                         )
Tax I.D. No. XX-XXXXXXX                                  )
                                                         )
In re:                                                   )   Chapter 11
                                                         )
AMERICAN QUEEN HOLDCO, LLC,                              )   Case No. 24-90086 (MI)
                                                         )
                     Debtor.                             )
                                                         )
Tax I.D. No. XX-XXXXXXX                                  )
                                                         )
In re:                                                   )   Chapter 11
                                                         )
AMERICAN QUEEN HOLDINGS, LLC,                            )   Case No. 24-90095 (MI)
                                                         )
                     Debtor.                             )
                                                         )
Tax I.D. No. XX-XXXXXXX                                  )
                                                         )
In re:                                                   )   Chapter 11
                                                         )
AMERICAN    QUEEN              STEAMBOAT       OPERATING )   Case No. 24-90100 (MI)
COMPANY, LLC,                                            )
                                                         )
                     Debtor.                             )
                                                         )
Tax I.D. No. XX-XXXXXXX                                  )




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In re:                                                 )   Chapter 11
                                                       )
AMERICAN QUEEN SUB, LLC,                               )   Case No. 24-90104 (MI)
                                                       )
                     Debtor.                           )
                                                       )
Tax I.D. No. XX-XXXXXXX                                )
                                                       )
In re:                                                 )   Chapter 11
                                                       )
ANCHOR MEXICO HOLDINGS, LLC,                           )   Case No. 24-90108 (MI)
                                                       )
                     Debtor.                           )
                                                       )
Tax I.D. No. XX-XXXXXXX                                )
                                                       )
In re:                                                 )   Chapter 11
                                                       )
ANCHOR OPERATING SYSTEM, LLC,                          )   Case No. 24-90113 (MI)
                                                       )
                     Debtor.                           )
                                                       )
Tax I.D. No. XX-XXXXXXX                                )
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In re:                                                 )   Chapter 11
                                                       )
ASG ADVISORS, LLC,                                     )   Case No. 24-90119 (MI)
                                                       )
                     Debtor.                           )
                                                       )
Tax I.D. No. N/A                                       )
                                                       )
In re:                                                 )   Chapter 11
                                                       )
BABARUSA, LLC,                                         )   Case No. 24-90124 (MI)
                                                       )
                     Debtor.                           )
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Tax I.D. No. N/A                                       )




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                                                       )
In re:                                                 )   Chapter 11
                                                       )
BAY STATE, LLC,                                        )   Case No. 24-90126 (MI)
                                                       )
                     Debtor.                           )
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Tax I.D. No. XX-XXXXXXX                                )
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In re:                                                 )   Chapter 11
                                                       )
BOOTH PRIMARY, LLC,                                    )   Case No. 24-90132 (MI)
                                                       )
                     Debtor.                           )
                                                       )
Tax I.D. No. N/A                                       )
                                                       )
In re:                                                 )   Chapter 11
                                                       )
BOSTON HARBOR CRUISES, LLC,                            )   Case No. 24-90137 (MI)
                                                       )
                     Debtor.                           )
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Tax I.D. No. XX-XXXXXXX                                )
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In re:                                                 )   Chapter 11
                                                       )
CHOI ADVISORY, LLC,                                    )   Case No. 24-90138 (MI)
                                                       )
                     Debtor.                           )
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Tax I.D. No. N/A                                       )
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In re:                                                 )   Chapter 11
                                                       )
CITY CRUISES CAFE, LLC,                                )   Case No. 24-90064 (MI)
                                                       )
                     Debtor.                           )
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Tax I.D. No. XX-XXXXXXX                                )




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                                                       )
In re:                                                 )   Chapter 11
                                                       )
CITY CRUISES LTD.,                                     )   Case No. 24-90072 (MI)
                                                       )
                     Debtor.                           )
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Tax I.D. No. 888886772                                 )
                                                       )
In re:                                                 )   Chapter 11
                                                       )
CITY FERRY TRANSPORTATION SERVICES,                    )   Case No. 24-90081 (MI)
LLC                                                    )
               Debtor.                                 )
                                                       )
Tax I.D. No. XX-XXXXXXX                                )
                                                       )
In re:                                                 )   Chapter 11
                                                       )
COLUGO LINER, LLC,                                     )   Case No. 24-90085 (MI)
                                                       )
                     Debtor.                           )
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Tax I.D. No. N/A                                       )
                                                       )
In re:                                                 )   Chapter 11
                                                       )
CRUISING EXCURSIONS LTD.,                              )   Case No. 24-90089 (MI)
                                                       )
                     Debtor.                           )
                                                       )
Tax I.D. No. 888886773                                 )
                                                       )
In re:                                                 )   Chapter 11
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CRUISING EXCURSIONS TRANSPORT LTD.,                    )   Case No. 24-90094 (MI)
                                                       )
                     Debtor.                           )
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Tax I.D. No. 888886774                                 )




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                                                       )
In re:                                                 )   Chapter 11
                                                       )
EON PARTNERS, LLC,                                     )   Case No. 24-90099 (MI)
                                                       )
                     Debtor.                           )
                                                       )
Tax I.D. No. XX-XXXXXXX                                )
                                                       )
In re:                                                 )   Chapter 11
                                                       )
FALLS MER, LLC,                                        )   Case No. 24-90105 (MI)
                                                       )
                     Debtor.                           )
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Tax I.D. No. N/A                                       )
                                                       )
In re:                                                 )   Chapter 11
                                                       )
FERRYBOAT SANTA ROSA, LLC,                             )   Case No. 24-90109 (MI)
                                                       )
                     Debtor.                           )
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Tax I.D. No. XX-XXXXXXX                                )
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In re:                                                 )   Chapter 11
                                                       )
GHARIAN HOLDINGS, LLC,                                 )   Case No. 24-90112 (MI)
                                                       )
                     Debtor.                           )
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Tax I.D. No. N/A                                       )
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In re:                                                 )   Chapter 11
                                                       )
GOURD MANAGEMENT, LLC,                                 )   Case No. 24-90118 (MI)
                                                       )
                     Debtor.                           )
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Tax I.D. No. N/A                                       )




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In re:                                     )         Chapter 11
                                           )
HBAQ HOLDINGS, LLC,                        )         Case No. 24-90122 (MI)
                                           )
                     Debtor.               )
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Tax I.D. No. XX-XXXXXXX                    )
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In re:                                     )         Chapter 11
                                           )
HBAQ HOLDINGS, LP,                         )         Case No. 24-90125 (MI)
                                           )
                     Debtor.               )
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Tax I.D. No. XX-XXXXXXX                    )
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In re:                                     )         Chapter 11
                                           )
HMS AMERICAN QUEEN STEAMBOAT COMPANY, LLC, )         Case No. 24-90131 (MI)
                                           )
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                     Debtor.               )
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Tax I.D. No. XX-XXXXXXX                    )
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In re:                                     )         Chapter 11
                                           )
HMS FERRIES, INC.,                         )         Case No. 24-90141 (MI)
                                           )
                     Debtor.               )
                                           )
Tax I.D. No. XX-XXXXXXX                    )
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In re:                                     )         Chapter 11
                                           )
HMS FERRIES – PUERTO RICO, LLC,            )         Case No. 24-90136 (MI)
                                           )
                     Debtor.               )
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Tax I.D. No. XX-XXXXXXX                    )




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                                                       )
In re:                                                 )   Chapter 11
                                                       )
HMS GLOBAL MARITIME, INC.,                             )   Case No. 24-90144 (MI)
                                                       )
                     Debtor.                           )
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Tax I.D. No. XX-XXXXXXX                                )
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In re:                                                 )   Chapter 11
                                                       )
HMS GLOBAL MARITIME, LLC,                              )   Case No. 24-90101 (MI)
                                                       )
                     Debtor.                           )
                                                       )
Tax I.D. No. XX-XXXXXXX                                )
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In re:                                                 )   Chapter 11
                                                       )
HMS VESSEL HOLDINGS, LLC,                              )   Case No. 24-90106 (MI)
                                                       )
                     Debtor.                           )
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Tax I.D. No. XX-XXXXXXX                                )
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In re:                                                 )   Chapter 11
                                                       )
HMS-ALABAMA. INC.,                                     )   Case No. 24-90115 (MI)
                                                       )
                     Debtor.                           )
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Tax I.D. No. XX-XXXXXXX                                )
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In re:                                                 )   Chapter 11
                                                       )
HMS-OKLAHOMA, INC.,                                    )   Case No. 24-90120 (MI)
                                                       )
                     Debtor.                           )
                                                       )
Tax I.D. No. XX-XXXXXXX                                )




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In re:                                                 )   Chapter 11
                                                       )
HMS-WESTPAC, INC.,                                     )   Case No. 24-90130 (MI)
                                                       )
                     Debtor.                           )
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Tax I.D. No. XX-XXXXXXX                                )
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In re:                                                 )   Chapter 11
                                                       )
HNY FERRY, LLC,                                        )   Case No. 24-90146 (MI)
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                     Debtor.                           )
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Tax I.D. No. XX-XXXXXXX                                )
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In re:                                                 )   Chapter 11
                                                       )
HNY FERRY II, LLC,                                     )   Case No. 24-90142 (MI)
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                     Debtor.                           )
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Tax I.D. No. XX-XXXXXXX                                )
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In re:                                                 )   Chapter 11
                                                       )
HNY FERRY FLEET, LLC,                                  )   Case No. 24-90134 (MI)
                                                       )
                     Debtor.                           )
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Tax I.D. No. XX-XXXXXXX                                )
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In re:                                                 )   Chapter 11
                                                       )
HORNBLOWER CABLE CARS, INC.,                           )   Case No. 24-90151 (MI)
                                                       )
                     Debtor.                           )
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Tax I.D. No. XX-XXXXXXX                                )




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In re:                                                  )   Chapter 11
                                                        )
HORNBLOWER CANADA CO.,                                  )   Case No. 24-90068
                                                        )
                     Debtor.                            )
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Tax I.D. No. 85107 4716 RT0001                          )
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In re:                                                  )   Chapter 11
                                                        )
HORNBLOWER CANADA ENTERTAINMENT LTD.,                   )   Case No. 24-90071 (MI)
                                                        )
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                     Debtor.                            )
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Tax I.D. No. 888886775                                  )
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In re:                                                  )   Chapter 11
                                                        )
HORNBLOWER CANADIAN HOLDINGS, INC.,                     )   Case No. 24-90078 (MI)
                                                        )
                     Debtor.                            )
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Tax I.D. No. XX-XXXXXXX                                 )
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In re:                                                  )   Chapter 11
                                                        )
HORNBLOWER CONSULTING, LLC,                             )   Case No. 24-90155 (MI)
                                                        )
                     Debtor.                            )
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Tax I.D. No. XX-XXXXXXX                                 )
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In re:                                                  )   Chapter 11
                                                        )
HORNBLOWER CRUISE HOLDINGS, LLC,                        )   Case No. 24-90154 (MI)
                                                        )
                     Debtor.                            )
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Tax I.D. No. XX-XXXXXXX                                 )




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In re:                                                  )   Chapter 11
                                                        )
HORNBLOWER CRUISES AND EVENTS CANADA LTD.,              )   Case No. 24-90092 (MI)
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                     Debtor.                            )
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Tax I.D. No. 106568447                                  )
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In re:                                                  )   Chapter 11
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HORNBLOWER CRUISES AND EVENTS, INC.,                    )   Case No. 24-90087 (MI)
                                                        )
                     Debtor.                            )
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Tax I.D. No. XX-XXXXXXX                                 )
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In re:                                                  )   Chapter 11
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HORNBLOWER CRUISES AND EVENTS, LLC,                     )   Case No. 24-90149 (MI)
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                     Debtor.                            )
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Tax I.D. No. XX-XXXXXXX                                 )
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In re:                                                  )   Chapter 11
                                                        )
HORNBLOWER DEVELOPMENT, LLC,                            )   Case No. 24-90076 (MI)
                                                        )
                     Debtor.                            )
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Tax I.D. No. XX-XXXXXXX                                 )
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In re:                                                  )   Chapter 11
                                                        )
HORNBLOWER ENERGY, LLC,                                 )   Case No. 24-90088 (MI)
                                                        )
                     Debtor.                            )
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Tax I.D. No. XX-XXXXXXX                                 )




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In re:                                                  )   Chapter 11
                                                        )
HORNBLOWER FACILITY OPERATIONS, LLC,                    )   Case No. 24-90097 (MI)
                                                        )
                     Debtor.                            )
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Tax I.D. No. XX-XXXXXXX                                 )
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In re:                                                  )   Chapter 11
                                                        )
HORNBLOWER FERRY HOLDINGS, LLC,                         )   Case No. 24-90117 (MI)
                                                        )
                     Debtor.                            )
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Tax I.D. No. XX-XXXXXXX                                 )
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In re:                                                  )   Chapter 11
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HORNBLOWER FERRY HOLDINGS II, LLC,                      )   Case No. 24-90107 (MI)
                                                        )
                     Debtor.                            )
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Tax I.D. No. XX-XXXXXXX                                 )
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In re:                                                  )   Chapter 11
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HORNBLOWER FLEET, LLC,                                  )   Case No. 24-90127 (MI)
                                                        )
                     Debtor.                            )
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Tax I.D. No. XX-XXXXXXX                                 )
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In re:                                                  )   Chapter 11
                                                        )
HORNBLOWER FREEDOM, LLC,                                )   Case No. 24-90140 (MI)
                                                        )
                     Debtor.                            )
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Tax I.D. No. XX-XXXXXXX                                 )




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In re:                                                  )   Chapter 11
                                                        )
HORNBLOWER GROUP, INC.,                                 )   Case No. 24-90067 (MI)
                                                        )
                     Debtor.                            )
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Tax I.D. No. XX-XXXXXXX                                 )
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In re:                                                  )   Chapter 11
                                                        )
HORNBLOWER GROUP, LLC,                                  )   Case No. 24-90157 (MI)
                                                        )
                     Debtor.                            )
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Tax I.D. No. XX-XXXXXXX                                 )
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In re:                                                  )   Chapter 11
                                                        )
HORNBLOWER GROUP HOLDCO, LLC,                           )   Case No. 24-90147 (MI)
                                                        )
                     Debtor.                            )
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Tax I.D. No. XX-XXXXXXX                                 )
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In re:                                                  )   Chapter 11
                                                        )
HORNBLOWER HOLDCO, LLC,                                 )   Case No. 24-90160 (MI)
                                                        )
                     Debtor.                            )
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Tax I.D. No. XX-XXXXXXX                                 )
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In re:                                                  )   Chapter 11
                                                        )
HORNBLOWER HOLDINGS LP,                                 )   Case No. 24-90162 (MI)
                                                        )
                     Debtor.                            )
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Tax I.D. No. XX-XXXXXXX                                 )




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In re:                                                  )   Chapter 11
                                                        )
HORNBLOWER HOSPITALITY SERVICES, LLC,                   )   Case No. 24-90163 (MI)
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                     Debtor.                            )
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Tax I.D. No. XX-XXXXXXX                                 )
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In re:                                                  )   Chapter 11
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HORNBLOWER INDIA HOLDINGS, LLC,                         )   Case No. 24-90161 (MI)
                                                        )
                     Debtor.                            )
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Tax I.D. No. XX-XXXXXXX                                 )
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In re:                                                  )   Chapter 11
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HORNBLOWER METRO FERRY, LLC,                            )   Case No. 24-90159 (MI)
                                                        )
                     Debtor.                            )
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Tax I.D. No. XX-XXXXXXX                                 )
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In re:                                                  )   Chapter 11
                                                        )
HORNBLOWER METRO FLEET, LLC,                            )   Case No. 24-90158 (MI)
                                                        )
                     Debtor.                            )
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Tax I.D. No. XX-XXXXXXX                                 )
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In re:                                                  )   Chapter 11
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HORNBLOWER METRO HOLDINGS, LLC,                         )   Case No. 24-90156 (MI)
                                                        )
                     Debtor.                            )
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Tax I.D. No. XX-XXXXXXX                                 )




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In re:                                                  )   Chapter 11
                                                        )
HORNBLOWER MUNICIPAL OPERATIONS, LLC,                   )   Case No. 24-90069 (MI)
                                                        )
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                     Debtor.                            )
                                                        )
Tax I.D. No. XX-XXXXXXX                                 )
                                                        )
In re:                                                  )   Chapter 11
                                                        )
HORNBLOWER NEW YORK, LLC,                               )   Case No. 24-90074 (MI)
                                                        )
                     Debtor.                            )
                                                        )
Tax I.D. No. XX-XXXXXXX                                 )
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In re:                                                  )   Chapter 11
                                                        )
HORNBLOWER SHIPYARD, LLC,                               )   Case No. 24-90079 (MI)
                                                        )
                     Debtor.                            )
                                                        )
Tax I.D. No. XX-XXXXXXX                                 )
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In re:                                                  )   Chapter 11
                                                        )
HORNBLOWER SUB, LLC,                                    )   Case No. 24-90084 (MI)
                                                        )
                     Debtor.                            )
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Tax I.D. No. XX-XXXXXXX                                 )
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In re:                                                  )   Chapter 11
                                                        )
HORNBLOWER UK HOLDINGS LTD.,                            )   Case No. 24-90091 (MI)
                                                        )
                     Debtor.                            )
                                                        )
Tax I.D. No. 888886779                                  )




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                                                        )
In re:                                                  )   Chapter 11
                                                        )
HORNBLOWER YACHTS, LLC,                                 )   Case No. 24-90096 (MI)
                                                        )
                     Debtor.                            )
                                                        )
Tax I.D. No. XX-XXXXXXX                                 )
                                                        )
In re:                                                  )   Chapter 11
                                                        )
JJ AUDUBON, LLC,                                        )   Case No. 24-90102 (MI)
                                                        )
                     Debtor.                            )
                                                        )
Tax I.D. No. XX-XXXXXXX                                 )
                                                        )
In re:                                                  )   Chapter 11
                                                        )
JOURNEY BEYOND HOLDINGS, LLC,                           )   Case No. 24-90110 (MI)
                                                        )
                     Debtor.                            )
                                                        )
Tax I.D. No. XX-XXXXXXX                                 )
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In re:                                                  )   Chapter 11
                                                        )
LIBERTY CRUISES, LLC,                                   )   Case No. 24-90114 (MI)
                                                        )
                     Debtor.                            )
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Tax I.D. No. XX-XXXXXXX                                 )
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In re:                                                  )   Chapter 11
                                                        )
LIBERTY FLEET, LLC,                                     )   Case No. 24-90121 (MI)
                                                        )
                     Debtor.                            )
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Tax I.D. No. XX-XXXXXXX                                 )




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In re:                                                  )   Chapter 11
                                                        )
LIBERTY HOSPITALITY, LLC,                               )   Case No. 24-90128 (MI)
                                                        )
                     Debtor.                            )
                                                        )
Tax I.D. No. XX-XXXXXXX                                 )
                                                        )
In re:                                                  )   Chapter 11
                                                        )
LIBERTY LANDING FERRIES, LLC,                           )   Case No. 24-90133 (MI)
                                                        )
                     Debtor.                            )
                                                        )
Tax I.D. No. XX-XXXXXXX                                 )
                                                        )
In re:                                                  )   Chapter 11
                                                        )
LYMAN PARTNERS, LLC,                                    )   Case No. 24-90139 (MI)
                                                        )
                     Debtor.                            )
                                                        )
Tax I.D. No. N/A                                        )
                                                        )
In re:                                                  )   Chapter 11
                                                        )
MADISON UNION, LLC,                                     )   Case No. 24-90143 (MI)
                                                        )
                     Debtor.                            )
                                                        )
Tax I.D. No. N/A                                        )
                                                        )
In re:                                                  )   Chapter 11
                                                        )
MISSION BAY WATER TRANSIT, LLC,                         )   Case No. 24-90153 (MI)
                                                        )
                     Debtor.                            )
                                                        )
Tax I.D. No. XX-XXXXXXX                                 )




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In re:                                                  )   Chapter 11
                                                        )
MISSION BAY WATER TRANSIT FLEET, LLC,                   )   Case No. 24-90148 (MI)
                                                        )
                     Debtor.                            )
                                                        )
Tax I.D. No. XX-XXXXXXX                                 )
                                                        )
In re:                                                  )   Chapter 11
                                                        )
ORANE PARTNERS, LLC,                                    )   Case No. 24-90150 (MI)
                                                        )
                     Debtor.                            )
                                                        )
Tax I.D. No. N/A                                        )
                                                        )
In re:                                                  )   Chapter 11
                                                        )
SAN FRANCISCO PIER 33, LLC,                             )   Case No. 24-90065 (MI)
                                                        )
                     Debtor.                            )
                                                        )
Tax I.D. No. XX-XXXXXXX                                 )
                                                        )
In re:                                                  )   Chapter 11
                                                        )
SEA OPERATING COMPANY, LLC,                             )   Case No. 24-90070 (MI)
                                                        )
                     Debtor.                            )
                                                        )
Tax I.D. No. XX-XXXXXXX                                 )
                                                        )
In re:                                                  )   Chapter 11
                                                        )
SEAWARD SERVICES, INC.,                                 )   Case No. 24-90073 (MI)
                                                        )
                     Debtor.                            )
                                                        )
Tax I.D. No. XX-XXXXXXX                                 )




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                                                        )
In re:                                                  )   Chapter 11
                                                        )
STATUE CRUISES, LLC,                                    )   Case No. 24-90077 (MI)
                                                        )
                     Debtor.                            )
                                                        )
Tax I.D. No. XX-XXXXXXX                                 )
                                                        )
In re:                                                  )   Chapter 11
                                                        )
STATUE OF LIBERTY IV, LLC,                              )   Case No. 24-90083 (MI)
                                                        )
                     Debtor.                            )
                                                        )
Tax I.D. No. XX-XXXXXXX                                 )
                                                        )
In re:                                                  )   Chapter 11
                                                        )
STATUE OF LIBERTY V, LLC,                               )   Case No. 24-90090 (MI)
                                                        )
                     Debtor.                            )
                                                        )
Tax I.D. No. XX-XXXXXXX                                 )
                                                        )
In re:                                                  )   Chapter 11
                                                        )
STATUE OF LIBERTY VI, LLC,                              )   Case No. 24-90093 (MI)
                                                        )
                     Debtor.                            )
                                                        )
Tax I.D. No. XX-XXXXXXX                                 )
                                                        )
In re:                                                  )   Chapter 11
                                                        )
TCB CONSULTING, LLC,                                    )   Case No. 24-90098 (MI)
                                                        )
                     Debtor.                            )
                                                        )
Tax I.D. No. XX-XXXXXXX                                 )




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                                                        )
In re:                                                  )   Chapter 11
                                                        )
VENTURE ASHORE, LLC,                                    )   Case No. 24-90103 (MI)
                                                        )
                     Debtor.                            )
                                                        )
Tax I.D. No. XX-XXXXXXX                                 )
                                                        )
In re:                                                  )   Chapter 11
                                                        )
VICTORY HOLDINGS I, LLC,                                )   Case No. 24-90111 (MI)
                                                        )
                     Debtor.                            )
                                                        )
Tax I.D. No. XX-XXXXXXX                                 )
                                                        )
In re:                                                  )   Chapter 11
                                                        )
VICTORY HOLDINGS II, LLC,                               )   Case No. 24-90116 (MI)
                                                        )
                     Debtor.                            )
                                                        )
Tax I.D. No. XX-XXXXXXX                                 )
                                                        )
In re:                                                  )   Chapter 11
                                                        )
VICTORY OPERATING COMPANY, LLC,                         )   Case No. 24-90123 (MI)
                                                        )
                     Debtor.                            )
                                                        )
Tax I.D. No. XX-XXXXXXX                                 )
                                                        )
In re:                                                  )   Chapter 11
                                                        )
WALKS, LLC (DEL.),                                      )   Case No. 24-90135 (MI)
                                                        )
                     Debtor.                            )
                                                        )
Tax I.D. No. XX-XXXXXXX                                 )




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                                                                                 )
    In re:                                                                       )   Chapter 11
                                                                                 )
    WALKS, LLC (TEX.),                                                           )   Case No. 24-90060 (MI)
                                                                                 )
                             Debtor.                                             )
                                                                                 )
    Tax I.D. No. XX-XXXXXXX                                                      )
                                                                                 )
    In re:                                                                       )   Chapter 11
                                                                                 )
    WALKS OF NEW YORK TOURS, LLC,                                                )   Case No. 24-90129 (MI)
                                                                                 )
                             Debtor.                                             )
                                                                                 )
    Tax I.D. No. XX-XXXXXXX                                                      )
                                                                                 )
    In re:                                                                       )   Chapter 11
                                                                                 )
    YARDARM CLUB (THE) LTD.,                                                     )   Case No. 24-90145 (MI)
                                                                                 )
                             Debtor.                                             )
                                                                                 )
    Tax I.D. No. XX-XXXXXXX                                                      )
                                                                                 )
    In re:                                                                       )   Chapter 11
                                                                                 )
    YORK RIVER BOAT CRUISES LIMITED                                              )   Case No. 24-90152 (MI)
                                                                                 )
                             Debtor.                                             )
                                                                                 )
    Tax I.D. No. 888886780                                                       )

                   ORDER (I) DIRECTING JOINT ADMINISTRATION OF
             RELATED CHAPTER 11 CASES AND (II) GRANTING RELATED RELIEF
                                   [Relates to Docket No. 2]

             Upon the motion (the “Motion”)1 of the above-captioned debtors and debtors in possession

(collectively, the “Debtors”) for entry of an order (this “Order”) (a) authorizing the Debtors to

jointly administer their chapter 11 cases for procedural purposes only and (b) granting related




1     Capitalized terms used but not defined herein have the meanings ascribed to them in the Motion.



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relief, all as more fully set forth in the Motion; and this Court having jurisdiction over this matter

pursuant to 28 U.S.C. § 1334; and this Court having found that this is a core proceeding pursuant

to 28 U.S.C. § 157(b)(2); and this Court having found that it may enter a final order consistent with

Article III of the United States Constitution; and this Court having found that the relief

requested in the Motion is in the best interests of the Debtors’ estates, their creditors, and other

parties in interest; and this Court having found that the Debtors’ notice of the Motion and

opportunity for a hearing on the Motion were appropriate under the circumstances and no other

notice need be provided; and this Court having reviewed the Motion; and this Court having

determined that the legal and factual bases set forth in the Motion establish just cause for the

relief granted herein; and upon all of the proceedings had before this Court; and after due

deliberation and sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

       1.      The chapter 11 cases are consolidated for procedural purposes only and shall be

jointly administered by the Court under the case number assigned to Hornblower Holdings LLC,

Case No. 24-90061.




       2.      The following checked items are ordered:

                       a.      ☒ All of the jointly administered cases not previously assigned to
                               Judge Isgur are transferred to Judge Isgur.

                       b.      ☒ One disclosure statement and plan of reorganization may be filed
                               for all of the cases by a plan proponent.

                       c.      ☒ Parties may request joint hearings on matters pending in any of
                               the jointly administered cases.

                       d.      ☒ Other: See below.



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         3.        The caption of the jointly administered cases shall read as follows:

                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                                          )
    In re:
                                                                          )     Chapter 11
                                                                          )
    HORNBLOWER HOLDINGS LLC, et al.,1                                           Case No. 24-90061
                                                                          )
                                                                          )
                                        Debtors.                          )     (Jointly Administered)
                                                                          )

         4.        The foregoing caption satisfies any applicable requirements of section 342(c)(1) of

the Bankruptcy Code and Bankruptcy Rule 2002(n).

         5.        A docket entry, substantially similar to the following, shall be entered on the

dockets of each of the Debtors other than Hornblower Holdings LLC:

               An order has been entered in accordance with Rule 1015(b) of the Federal Rules
               of Bankruptcy Procedure and Rule 1015-1 of the Local Rules of Bankruptcy
               Practice and Procedure of the United States Bankruptcy Court for the Southern
               District of Texas directing joint administration of the chapter 11 cases of:
               Hornblower Holdings LLC, et al. Case No. 24-90061 (MI). All further
               pleadings and other papers shall be filed in and all further docket
               entries shall be made in Case No. 24-90061. The docket in Case No.
               24-90061 should be consulted for all matters affecting this case.

         6.        The Debtors shall maintain, and the Clerk of the United States Bankruptcy Court

for the Southern District of Texas shall keep, one consolidated docket, one file, and one

consolidated service list for these chapter 11 cases. Separate claims registers will be maintained.




1
     The last four digits of Debtor Hornblower Holdings LLC’s tax identification number are 6035. Due to the large
     number of debtor entities in these chapter 11 cases, for which the Debtors have requested joint administration, a
     complete list of the debtor entities and the last four digits of their federal tax identification numbers is not provided
     herein. A complete list of such information may be obtained on the website of the Debtors’ proposed claims and
     noticing agent at https://omniagentsolutions.com/Hornblower. The location of the Debtors’ service address for
     purposes of these chapter 11 cases is: Pier 3 on The Embarcadero, San Francisco, CA 94111.



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       7.      Nothing contained in the Motion or this Order shall be deemed or construed as

directing or otherwise effecting a substantive consolidation of these chapter 11 cases and this Order

shall be without prejudice to the rights of any party-in-interest to seek entry of an order

substantively consolidating their respective cases.

       8.      This order is appropriately issued ex parte. No notice is required.

       9.      The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Order in accordance with the Motion.

       10.     This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.



 Signed: February 21,2018
         October 17,  2024

                                                       ____________________________________
                                                                     Marvin Isgur
                                                           United States Bankruptcy Judge




                                                24
